Case: 2:15-cv-02830-JLG-CMV Doc #: 144 Filed: 09/20/18 Page: 1 of 1 PAGEID #: 2243




                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

John Doe,                               :

         Plaintiff.                     :       Case No. 2:15-cv-02830

vs.                                     :       Judge James L. Graham

The Ohio State University, et al.,      :       Magistrate Chelsey Vascura

         Defendant.                     :

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff and Defendants The Ohio State University, Javaune Adams-Gaston,

Kellie Brennan, Natalie Spiert and Matthew Page, by and through counsel, stipulate

and agree that the above captioned matter has been resolved and all claims that

were brought or could have been brought herein are dismissed with prejudice. Each

party to bear its own costs and attorneys’ fees.

Respectfully submitted,

MICHAEL DEWINE (0009181)
Ohio Attorney General

/s/ Christina L. Corl                           /s/ Joshua A. Engel__________________
CHRISTINA L. CORL (0067869)                     JOSHUA ENGEL (0075769)
Plunkett Cooney                                 Engel & Martin LLC
300 East Broad Street, Suite 590                4660 Duke Drive, Suite 101
Columbus, Ohio 43215                            Mason, OH 45040
Telephone: (614) 629-3018                       Telephone: (513) 445-9600
Facsimile: (614) 629-3019                       engel@engelandmartin.com
ccorl@plunkettcooney.com                        Counsel for Plaintiff
Counsel for Defendants

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